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 2   District of Nevada
     Nevada Bar Number 13644
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 7                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 8                                           -oOo-

 9   UNITED STATES OF AMERICA,                     )
                                                   ) Case No.: 2:20-cr-00128-KJD-BNW
                    Plaintiff,                     )
10                                                 )    GOVERNMENT’S DISCLOSURE
                                                   )              STATEMENT
11          vs.                                    )
                                                   )
12   STEPHEN T. PARSHALL,                          )
       aka “Kiwi”                                  )
13   ANDREW LYNAM, and                             )
     WILLIAM L. LOOMIS,                            )
                 Defendants.                       )
14                                                 )
15          Pursuant to LCR 16-1(b)(2) of the Local Rules of Practice for the District of Nevada,

16   Nicholas Dickinson, Assistant United States Attorney, contacted, Robert Draskovich, Jr.,

17   counsel for defendant Parshall; Thomas Pitaro, counsel for defendant Lynam; and Monti

18   Levy, counsel for defendant Loomis, to discuss scheduling of discovery in the instant case.

19   The Government has provided this Government Disclosure Statement to defense counsel

20   and is moving forward with providing discovery in this matter. The Government agrees

21   to provide discovery in the instant case as follows:

22          Discovery Schedule

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 1   A.   The Government will provide or permit the defendant to inspect and copy or

 2        photograph:

 3                1)     All statements, documents, and objects, including audio or video

 4                       recordings, required to be disclosed under Rules 16(a)(1)(A)-(F),

 5                       Federal Rules of Criminal Procedure.

 6                2)     All search warrants and supporting affidavits, which relate to evidence

 7                       that may be offered at trial. The Government will provide defendant

 8                       with copies of all items seized during the searches once the searches are

 9                       complete.

10                3)     The Government will provide expert disclosures as required under

11                       Rule 16(a)(1)(G), Federal Rules of Criminal Procedure.

12   B.   The Government will provide as soon as reasonably possible any exculpatory

13        information of which it is aware. The Government will provide any subsequently

14        discovered exculpatory information reasonably promptly upon its discovery. The

15        Government will provide impeachment information relating to government witnesses

16        who will testify at a pre-trial hearing, trial or sentencing sufficiently in advance of the

17        hearing, trial or sentencing to allow the hearing, trial or sentencing to proceed

18        efficiently.

19   C.   The Government hereby makes any and all demands for reciprocal disclosures from

20        the defendant under Federal Rules of Criminal Procedure 12.1, 12.2, 12.3 and 16,

21        including but not limited to the following, to be provided prior to trial:

22                1)     All documents, objects, and reports of examination required under

23                       Rules 16(b)(1)(A) and (B), Federal Rules of Criminal Procedure.

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 1               2)     All expert disclosures as required under Rule 16(b)(1)(C), Federal

 2                      Rules of Criminal Procedure.

 3               3)     All notices of any defenses under Rule 12.1, Federal Rules of Criminal

 4                      Procedure.

 5               4)     Any summaries, charts, or calculations, which the defense intends to

 6                      offer at trial.

 7   D.   The Government will no later than 5 days before trial or at such subsequent time as

 8        the Government learns any of the following information:

 9               1)     Disclose any summaries, charts, or calculations, which the

10                      Government intends to offer at trial.

11               2)     Identify recordings, transcripts of recordings, or portions thereof,

12                      which the Government intends to offer at trial.

13               3)     Disclose any reports or memoranda of interviews of witnesses the

14                      government intends to call in its case in chief.

15               4)     Disclose any statements of witnesses under Title 18, United States

16                      Code, Section 3500.

17   E.   If the Government withholds the disclosure of items subject to discovery under

18        Federal Rule of Criminal Procedure 16 or case law or statute, it will either: 1) provide

19        notice to the defense of its intent to withhold disclosure and describe the nature of the

20        item and the basis for withholding disclosure; or 2) submit in camera a motion to the

21        court for a protective order describing the nature of the item, the basis for withholding

22        disclosure and the need for in camera review and any sealing of the record. The

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 1          Government requests that, if the defendant withholds the disclosure of any such

 2          item(s), it provide such notice to the Government.

 3          The disclosures and reciprocal disclosures set forth above apply to those objects,

 4   documents, items, and other disclosure matters that are in the possession, custody, or control

 5   of the parties at the time the obligation to disclose arises. The Government recognizes that

 6   it has a continuing duty to provide disclosures up to and through trial as to any matters

 7   required to be disclosed by statute, rule, or the United States Constitution. Nothing in this

 8   statement is intended to create any rights for the defendant or in any way restrict or expand

 9   the remedies available to the Court for any breach of any disclosure obligations.

10          The Government holds itself available to make good faith efforts to confer with

11   defense counsel to resolve informally any dispute over the scope, manner and method of

12   disclosures before seeking relief from the Court.

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            DATED: July 2, 2020.
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15                                                       NICHOLAS A. TRUTANICH
                                                         United States Attorney
16
                                                         /s/ Nicholas D. Dickinson
17
                                                         NICHOLAS D. DICKINSON
18                                                       Assistant United States Attorney
                                                         District of Nevada
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